            Case 3:20-mj-00225       Document 1-1       Filed 08/31/20     Page 1 of 7
      3:20-mj-00225


DISTRICT OF OREGON                    )
                                      ) ss: AFFIDAVIT OF SA MARK BRASWELL
County of Multnomah




             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Mark Braswell, a Special Agent with the U.S. Department of Homeland Security

(DHS), Federal Protective Service (FPS), temporarily assigned to Portland, Oregon, being duly

sworn, do depose and state as follows:

                              Introduction and Agent Background

       1.       I am a law enforcement officer of the United States who is empowered by law to

conduct investigations and make arrests for offenses enumerated in Title 18, United States Code,

more specifically, to enforce Federal laws and regulations for the protection of persons and

property. I have been employed as a federal law enforcement officer for more than twenty years

and have served as a special agent for the Federal Protective Service since March 2005. I am a

graduate of the federal law enforcement training center, criminal investigator training program.

       2.      This affidavit is provided for the limited purpose of establishing probable cause

for the issuance of a criminal complaint and arrest warrant against Lonnie Vantewa ALBERT

(“ALBERT”). It is not intended to include each and every fact and detail known to me or to

other law enforcement officers surrounding this investigation. I have set forth only those facts

that I believe are necessary to establish probable cause. The information set forth in this

affidavit is based on: my personal participation in this investigation, information provided to me

by other individuals including other law enforcement officers, my review of records, reports, and



 Page 1 – Affidavit of Mark Braswell
              Case 3:20-mj-00225       Document 1-1       Filed 08/31/20     Page 2 of 7




documents related to this investigation, and communications with other individuals who have

personal knowledge of the events and circumstances described herein.

       3.        This affidavit is submitted in support of a criminal complaint and arrest warrant

against ALBERT. I respectfully submit the affidavit contains probable cause to believe that on

or about Sunday, August 30, 2020 in Multnomah county, in the District of Oregon, ALBERT did

forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in

section 1114 of this title while engaged in or on account of the performance of official duties in

violation of Title 11, United States Code, Section 111(a).

                                           Applicable Law

       4.        18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under § 111(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                   Statement of Probable Cause

       5.        On Sunday, August 30, 2020, SA Braswell interviewed FPS uniformed law

enforcement officer # 1, hereafter referred to as LEO1 and FPS uniformed law enforcement




 Page 2 – Affidavit of Mark Braswell
            Case 3:20-mj-00225      Document 1-1       Filed 08/31/20     Page 3 of 7




officer # 2, hereafter referred to as LEO2. LEO1 and LEO2 provided statements to SA Braswell

detailing the events that occurred earlier on Sunday, August 30, 2020.

       6.      On Sunday, August 30, 2020 at about 2:53 AM, LEO1 and LEO2 were on duty

and in uniform when they departed the Edith Green – Wendell Wyatt Federal building enroute to

their temporary lodging. LEO1 was driving a White Mazda RX-9, bearing a Washington state

registration plate, in Portland, Oregon. The White Mazda RX-9 was not equipped or marked as a

police or government vehicle. LEO2 was seated in the front right passenger seat of this vehicle.

       7.      Both LEO1 and LEO2 were wearing their FPS issued uniforms which display the

words “POLICE”, “DHS”, and have a Gold police badge on the front of their uniforms and

“POLICE”, “HOMELAND SECURITY” on the back of their uniforms. Their uniforms also

include a Gold police shoulder patch on the top of their left and right shirt sleeves. LEO1 and

LEO2 are employees of the United States performing official duties for the Department of

Homeland Security, a branch of the United States Government. LEO1 and LEO2 are persons

designated in Section 1114 of Title 18.

       8.      While driving East on Interstate 84 prior to Interstate 205 in Portland, Oregon,

LEO1 observed a Gray colored SUV passing his vehicle on the left side (driver’s side). LEO1

observed the driver of the Gray SUV, later identified as ALBERT by his Oregon driver’s license,

glance towards him. Based on the ambient light conditions at the time, LEO1’s left side police

shoulder patch on his uniform would have been viewable by a passing motorist. As ALBERT’S

SUV was passing LEO1’s vehicle on the left, ALBERT turned his SUV sharply to the right in

front of LEO1’s vehicle almost hitting LEO1’s vehicle. This unsafe lane change by ALBERT

caused LEO1 to reduce the speed of his vehicle in order to create a safe following distance


 Page 3 – Affidavit of Mark Braswell
             Case 3:20-mj-00225      Document 1-1       Filed 08/31/20     Page 4 of 7




behind ALBERT’S SUV and to avoid any further hazardous driving by ALBERT.

       9.       ALBERT slowed his SUV in front of LEO1’s vehicle (same lane). Because

ALBERT was reducing the distance between his vehicle and LEO1’s vehicle, LEO1 changed

lanes to the left and attempted to pass ALBERT’S vehicle on its left side. ALBERT sharply and

unexpectedly changed lanes to the left in front of LEO1 thus blocking LEO1 from passing him.

This sudden maneuver by ALBERT caused LEO1 to move his vehicle to the far-right side of the

Interstate to avoid being struck by ALBERT’S SUV.

       10.      ALBERT’S SUV was now on the left side of LEO1’s vehicle and a concrete wall

was on the right side of LEO1’s vehicle. ALBERT then immediately turned his vehicle to the

right towards LEO1 and struck LEO1’s vehicle in the front left area pushing LEO1’s vehicle to

the right toward the concrete wall located a few feet to the right of LEO1’s vehicle.

       11.      In the process of striking and pushing LEO1’s vehicle, ALBERT’s SUV crossed

in front of LEO1’s vehicle and spun around to the right side of the Interstate where it came to a

stop. LEO1 stopped his vehicle in front of ALBERT’s SUV and notified the FPS police

communication’s center. LEO1’s vehicle sustained visible dents, scratches, and other damage to

the driver’s door, front quarter panel, bumper, and tire rim.

       12.      LEO2 stepped out of the passenger side of his vehicle to determine if ALBERT

was injured. LEO2 could see ALBERT sitting behind the steering wheel of his vehicle. LEO2

could see ALBERT’s face. As LEO2 walked towards ALBERT’s SUV, ALBERT drove toward

LEO1’s vehicle, veered left, and passed LEO1 and LEO2 leaving the scene. ALBERT left the

scene without talking with or providing any information to LEO1 and LEO2.




 Page 4 – Affidavit of Mark Braswell
             Case 3:20-mj-00225     Document 1-1      Filed 08/31/20     Page 5 of 7




LEO1 and LEO2 followed ALBERT’s SUV to obtain identifying information on ALBERT and

the SUV’s license plate number. ALBERT continued East on Interstate 84, exited onto

Southbound Interstate 205, turned left onto SE Washington St, turned right onto SE 96th Ave,

turned left onto SE Market Street, drove past SE 100th Ave, and then stopped outside of

Adventist Health Portland parking lot.

       13.      Outside the Adventist Health Portland parking lot, LEO1 observed ALBERT’s

SUV begin driving backwards towards his vehicle. LEO1 stopped and backed his vehicle away

from ALBERT’s SUV. ALBERT began driving forward towards LEO1’s vehicle in what LEO1

believed was another attempt to strike his vehicle. LEO1 drove into the Adventist Health

Portland driveway to get away from ALBERT. The Portland Police Bureau had been notified

and were enroute. ALBERT pursued LEO1 at a high rate of speed and used the front of his SUV

to strike the rear of LEO1’s vehicle again causing visible damage to LEO1’s vehicle. LEO1

continued to drive forward to get away from ALBERT.

       14.      LEO1 saw ALBERT’s SUV at the parking lot entrance so LEO1 exited the

opposite side of the parking lot away from ALBERT’s SUV. LEO1 drove about one block to a

commercial parking lot and provided updated information to the FPS police communication’s

center. LEO1 was notified that the Portland Police Bureau had made contact with ALBERT

outside the Adventist Hospital Portland parking lot so LEO1 returned to the scene.

       15.      After returning to the scene on SE Market St near SE 100th Ave, LEO1 observed

that the vehicle description and tag number at the scene with the Portland Police Bureau matched

those of ALBERT’s SUV and tag number. LEO2 observed that the facial characteristics of the

individual on scene with the Portland Police Bureau matched those of ALBERT.


 Page 5 – Affidavit of Mark Braswell
                Case 3:20-mj-00225       Document 1-1       Filed 08/31/20     Page 6 of 7




          16.      While the events described above were unfolding, LEO1 had an immediate

concern for the safety of ALBERT and for LEO2 due to the potential risk for a life-threatening

injury.

          17.      I have reviewed reports authored by a Portland Police Officer who responded to

the area of Portland Adventist Hospital. The officer notes that Albert was contacted near SE

100th Avenue and SE Market Street in Portland, Oregon. Albert’s vehicle had significant and

visible front and rear end damage. Albert told officers that a car had “PIT” him on the freeway

and had followed him. After the vehicle PIT him, he tried to lose the vehicle before it followed

him to the Portland Adventist parking lot. Albert then said that he intentionally backed into the

vehicle in order to get them to stop following him. Albert told PPB officers that he believe that

people driving the vehicle were friends with a person named Marcus. Albert claimed that Marcus

is a stalker of his from California.

                                               Conclusion

          18.      Upon a finding of probable cause, it is respectfully requested that a criminal

complaint and arrest warrant be issued against ALBERT for forcibly assaulting, resisting,

opposing, impeding, intimidating, or interfering with any person designated in section 1114 of

this title while engaged in or on account of the performance of official duties in violation of Title

11, United States Code, Section 111(a).

          19.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Parakram

Singh, who advised that in his opinion the affidavit and complaint are legally and factually




 Page 6 – Affidavit of Mark Braswell
           Case 3:20-mj-00225        Document 1-1      Filed 08/31/20     Page 7 of 7




sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                                     /s/ Sworn to by telephone
                                                     In accordance with Fed. R. Crim. P. 4.1
                                                     Mark Braswell
                                                     Special Agent, federal Protective Service
                                                     U.S. Department of Homeland Security

       Sworn to by telephone or other reliable means at _____a.m./p.m.
                                                         6:10          in accordance with

Fed. R. Crim. P. 4.1 this _______
                              31 day of August 2020.


                                                     ________________________________
                                                     HONORABLE Jolie A. Russo
                                                     United States Magistrate Judge




 Page 7 – Affidavit of Mark Braswell
